                                 OPINION
On March 4, 1980, appellee, Carl E. Decker, was convicted of five counts of rape, in violation of R.C. 2907.02, and one count of corruption of a minor, in violation of R.C. 2907.04. He was subsequently sentenced by the Lake County Court of Common Pleas to serve four terms of incarceration of seven to twenty-five years, one term of three to ten years, and one term of life imprisonment, each sentence to be served concurrently. Having been found guilty of a sexually oriented offense, appellee became subject to a sexual predator hearing under Ohio's version of Megan's Law, newly amended R.C. Chapter 2950.
By judgment entry filed July 1, 1997, the trial court, suasponte, dismissed the proceedings for adjudicating appellee as a sexual predator, holding that Ohio's version of Megan's Law was unconstitutional as applied to appellee. Appellant appealed, and, pursuant to this court's decision in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, the judgment of the trial court is affirmed. ____________________________________ JUDGE WILLIAM M. O'NEILL
FORD, P.J.,
NADER, J., concur.